                                                                                   Office of Naval Research HQ
                                                                                   875 N. Randolph St, Suite 1425
                                                                                   ARLINGTON VA 22203-1995



                                      Grant Award                                  12.300 Basic and Applied Scientific Research


                                      10 USC 4001 and 31 USC 6304, as amended      VABDQ2J3UM78

  N00014-22-1-2844                                          NEW                    1000017116

  GRANT13603675                                                   04252022               R&D                    ONR

                  7G1V8               N/A
  LAUNCH ALASKA
  721 DEPOT DRIVE
  FL 2
  ANCHORAGE AK 99501-1615
  UNITED STATES OF AMERICA


  Isaac Vanderburg

  (907)952-3681       isaac.vanderburg@launchalaska.com

  Technology and Innovation Development in Alaska




                                                                                      $0.00        N/A                  N/A
                                                                              $1,000,000.00

                                                                              $1,000,000.00

                                                                              $3,999,860.00    10/01/2022             09/30/2027
                                                                              $4,999,860.00


  See Attached Financial Accounting Data Sheet(s)

                                                                           MICHELE ANDERSON                  0332
  Isaac Vanderburg

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                                                                  Arlington VA 22203-1995


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        ANASTASIA LENFEST                   0253                                                             N63374
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  Office of Naval Research                                        Email:usn.pentagon.cnr-arlington-
  875 N. Randolph Street Suite 1425                               va.mbx.onr-seattle@us.navy.mil
  Arlington VA 22203-1995                                         No Physical Address - Remote Function
                                                                  SEATTLE WA 98104

                      ANASTASIA.E.LENFEST.CIV@US.NAVY.MIL


                                                                  N34291                                     N00014
  See FMS Article II, Section    ONR Internal Entitlement                         Office of Naval Research
  C.2.b of the ONR Addendum      N34291                                           ATTN: ONR Office of Counsel
  to the DoD R&D General         usn.pentagon.cnr-arlington-va.mbx.onr-           Intellectual Property Section
  Terms and Conditions           fm@us.navy.mil                                   One Liberty Center
                                 Arlington VA 22203                               875 North Randolph Street, Suite 1425
                                                                                  ARLINGTON VA 22203-1995


                                                                                                      EXHIBIT 2
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N00014-22-1-2844

See Special Requirements on Page 5




https://www.onr.navy.mil/work-with-us/manage-your-award/onr-regional-offices
This award provides full delegation to the administrative office in Block 23 of the grant. Full delegation
includes the functions described in the DoDGARs at 32 CFR 22.715 and the administrative grants officer
functions related to payments described in 32 CFR 22.810.




The following documents may be found at:
https://www.onr.navy.mil/work-with-us/manage-your-award/manage-grant-award/grants-terms-conditions

- DOD RESEARCH AND DEVELOPMENT GENERAL TERMS AND CONDITIONS (SEPT 2021)
- UAWA AWARD A (SEP 2017)
- ONR ADDENDUM TO THE DOD R&D GENERAL TERMS AND CONDITIONS AND ONR PROGRAMMATIC REQUIREMENTS FOR DOMESTIC
AWARDEES(JULY 2022)




                                                        Digitally signed by ANASTASIA LENFEST 1362697049
                                                        Dated: 2022.09.27 10:02:38 EST



                                                        ANASTASIA LENFEST                      09/27/2022

                                                                                           EXHIBIT 2
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 N00014-22-1-2844                                                         1000017116




         AA         1721319   W2DB   410   00   014   0   050120   2D   000000    0C6739   785   129    $1,000,000.00




                                                                                                        $1,000,000.00

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Page 3 of 5
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 N00014-22-1-2844                                       1000017116




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N00014-22-1-2844
PAYMENT OFFICE AND RECIPIENT PAYMENT INSTRUCTIONS
..
SEE ONR ADDENDUM TO THE DOD R&D GENERAL TERMS AND CONDITIONS
FMS ARTICLE II. PAYMENTS
..
PAYMENT GUIDES ARE AVAILABLE ON THE ONR WEBSITE AT THE FOLLOWING LINK:
https://www.nre.navy.mil/work-with-us/manage-your-award/manage-grant-award




                                                                                         EXHIBIT 2
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